Case 3:17-cv-01208-M-BT Document 146 Filed 10/26/18                Page 1 of 2 PageID 1494


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ODELL EDWARDS, Individually and                §
as the Father of JORDAN EDWARDS,               §
and on BEHALF OF MINORS, V.A.                  §
and K.E., And as Representative of the         §
Estate of JORDAN EDWARDS, Deceased,            §
        Plaintiff,                             §
                                               §
v.                                             §
                                               §        CAUSE NO. 3:17-CV-01208-M
                                               §
SHAUNKEYIA KEYON STEPHENS, and                 §        CHIEF JUDGE
RHONDA WASHINGTON,                             §        BARBARA M. G. LYNN
     Intervenor Plaintiffs,                    §
                                               §
v.                                             §        JURY DEMANDED
                                               §
ROY OLIVER AND THE CITY OF                     §
BALCH SPRINGS, TEXAS,                          §
     Defendants.                               §
                                               §
v.                                             §
                                               §
CHARMAINE EDWARDS                              §
    Intervenor Defendant.                      §


     DEFENDANT’S, OFFICER ROY D. OLIVER, NOTICE OF INITIAL DISCLOSURES

      Defendant Officer Roy D. Oliver respectfully notifies the Court that, on October 24, 2018,
he made his Initial Disclosures as required by Fed. R. Civ. P. 26(a)(1).

                                                   Respectfully submitted,

                                                   MCKAMIE KRUEGER, L.L.P.

                                                   __/s Benjamin J Gibbs ____

                                                   WILLIAM W. KRUEGER, III
                                                   State Bar No. 11740530
                                                   Lead Counsel
                                                   BENJAMIN J. GIBBS
Case 3:17-cv-01208-M-BT Document 146 Filed 10/26/18                 Page 2 of 2 PageID 1495


                                                    State Bar No. 24094421
                                                    2097 N. Collins Blvd., Suite 150
                                                    Richardson, Texas 75080
                                                    214-253-2600
                                                    214-253-2626—Facsimile
                                                    ATTORNEYS FOR WYLIE
                                                    DEFENDANTS




                                   CERTIFICATE OF SERVICE

       I certify that Defendant’s, Roy D. Oliver, Notice of Initial Disclosures was served on all

counsel of record in compliance with the Federal Rules of Civil Procedure, by ECF filing on the

26th day of October, 2018.

                                                    __/s Benjamin J. Gibbs ____
                                                     BENJAMIN J. GIBBS
